                                        j ORIGINAL                                              08/27/2024


           IN THE SUPREME COURT OF THE STATE OF MONTANA
                                                                                            Case Number: DA 23-0170


                                         DA 23-0170


MONTY CLARENCE PETERSEN,

             Plaintiff and Appellant,

      v.                                                              ORDER

JENNIFER J. SIMON, APRN,

             Defendant and Appellee.


       Appellant, Monty Clarence Petersen, moves this Court for leave to file a supplemental
brief pursuant to Mont. R. App. P. 12(10). Appellee, Jennifer J. Simon, APRN, opposes
Petersen's motion.
       Petersen seeks leave to file a supplemental brief to address this Court's recently issued
Opinion in Estate of Phillips v. Robbins, 2024 MT 174,             Mont.      ,      P.3d
Petersen asserts that "[t]here exist factual and legal differences between the instant case and
Phillips, which [Petersen] would like an opportunity to explain."
       "Motions to file . . . supplemental briefs will not be routinely granted. Motions to file
such briefs must be supported by an affidavit demonstrating extraordinary justification."
Mont. R. App. P. 12(10). This Court is obviously well aware of our Opinion in Phillips and
the factual and legal differences between this case and Phillips. Those differences are
substantively addressed in our Opinion, issued contemporaneously with this Order.
Therefore,
       Appellant's Motio,n for Leave to File Supplemental Briefing is DENIED.
       DATED this             day of August, 2024.


               FILED
                                                                  Chief Justice
               AUG 2 7 2024
             Bowen Greenwood
           Clerk of Supreme Court
              State of Montano
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